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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

RACHEL GREENE d/b/a RACHEL BOLDT,   )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )                           No. 3:22-cv-2727
                                    )
WOODLAWN UNIT SCHOOL DISTRICT #209, )
MARK RICHARDSON, MIKE RICHARDSON, )                             JURY TRIAL DEMANDED
and DANNY DEES,                     )
                                    )
      Defendants.                   )

                                            COMPLAINT

        COMES NOW Plaintiff, Rachel Greene d/b/a Rachel Boldt, by and through her attorneys,

Mahoney Law Firm, LLC, and for her Complaint against Defendants, Woodlawn Unit School

District #209, Mark Richardson, Mike Richardson, and Danny Dees, states as follows:

                                   GENERAL ALLEGATIONS

        1.      At all times relevant herein, Plaintiff, Rachel Greene, was a resident of Jefferson

County, State of Illinois. Plaintiff is no longer a citizen of the State of Illinois.

        2.      At all times relevant herein, Defendant, Woodlawn Unit School District #209

(“District 209”), was a governmental unit, organized under the laws of the State of Illinois, and

operating as a school district within the State of Illinois in Jefferson County, Illinois.

        3.      At all times relevant herein, Defendant, District 209, was a governmental entity

engaged in providing education to the children of Jefferson County, Illinois. In so doing, it

benefited substantially form the receipt of funding from both the State of Illinois and the United

States government.

        4.      At all times relevant herein, Defendant, District 209, was responsible for the

management, care, and control of the public schools within its jurisdiction, training for school


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officials and teachers as to the safety of students within District 209, and the supervision of

students and teachers within its schools.

         5.     At all times relevant herein, Defendant, District 209, was acting by and through its

agents, servants, and/or employees, actual or ostensible, including but not limited to, Defendants,

Mark Richardson and Mike Richardson, who were acting within the course and scope of their

employment with District 209 at the time of the events giving rise to Plaintiff’s injuries.

         6.     At all times relevant herein, Defendant, Mark Richardson, was a resident of

Jefferson County, State of Illinois, and a citizen of the State of Illinois.

         7.     At all times relevant herein, Defendant, Mike Richardson, was a resident of

Jefferson County, State of Illinois, and a citizen of the State of Illinois.

         8.     At all times relevant herein, Defendant, Danny Dees, was a resident of Jefferson

County, State of Illinois, and a citizen of the State of Illinois.

         9.     At all times relevant herein, Defendant, Mark Richardson, was a teacher and

basketball coach for District 209, and acted both individually and within the scope of his

employment with District 209. Defendant, Mark Richardson, is named in his official and

individual capacities.

         10.    At all times relevant herein, Plaintiff, Rachel Greene, was a student enrolled within

District 209 in Jefferson County, Illinois, and for portions of her education from the 4th Grade

through the 8th Grade, Defendant, Mark Richardson, was one of her teachers and her basketball

coach.

         11.    At all times relevant herein, Defendant, Mike Richardson, was employed as a coach

for District 209, and acted both individually and within the scope of his employment with District

209. Defendant, Mike Richardson, is named in his official and individual capacities.



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       12.     During the 1995/1996 school year, when Plaintiff was in the 4th Grade, Defendant,

Mark Richardson, inappropriately touched Plaintiff in his classroom and groomed her for a sexual

relationship while she was a minor and enrolled within District 209.

       13.     During the aforementioned period of time, the inappropriate touching in the

classroom consisted of Defendant, Mark Richardson, forcing Plaintiff to sit on his lap, and

touching of her stomach, back, shoulders, arms, and chest.

       14.     During the aforementioned time period, Defendant, Mark Richardson, would force

Plaintiff to kneel on her knees behind his desk in his classroom and lift up her shirt and show him

parts of her body.

       15.     During the aforementioned time period, Defendant, Mark Richardson, would play

the “credit card” game with Plaintiff at school where he would swipe his hand up her genital area.

       16.     During the aforementioned time period, Defendant, Mark Richardson, groomed

Plaintiff to believe their relationship was normal. He nicknamed her “All Star.” He would show

her pictures of child pornography and took pictures of Plaintiff at his home while she was nude.

       17.     During the aforementioned time period, Plaintiff was supposed to be in her assigned

4th Grade classroom but Defendant, Mark Richardson, would send a note to Plaintiff’s teacher for

her to come visit him in his classroom.

       18.     On or about 1996, when Plaintiff was in the 4th Grade, Defendant, Mark

Richardson, convinced Plaintiff to come to his house where he forced her and another minor victim

to undress and kiss and touch each other. Defendants, Mark Richardson and/or Mike Richardson,

filmed this interaction.

       19.     On or about Spring 1996 when Plaintiff was in the 4th Grade, Defendant, Mark

Richardson, convinced Plaintiff to come to his house where he had sexual intercourse with her



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while Defendant, Mike Richardson, and his wife, Debi Richardson, were present. Defendant, Mike

Richardson, filmed the rape. Plaintiff was 10 years old the first time this occurred.

       20.     For the remainder of this 1995/1996 school year, Defendant, Mark Richardson,

continued to convince Plaintiff to visit him at this house where he had repeated forced sexual

intercourse with her.

       21.     During this period of time, Plaintiff would spend time in Defendant Mark

Richardson’s classroom during recess where he would tell her she belonged to him and could only

“make love” to him.

       22.     During the 1995/1996 school year, a teacher employed by District 209 at the

Woodlawn Grade School reported to Steve Danner, the building Principal at the time, that Plaintiff

was sitting on Defendant Mark Richardson’s lap in the classroom with the lights turned off with

his hand on her leg.

       23.     Upon information and belief, Defendant, District 209, did not investigate this report

of inappropriate sexual contact between Defendant, Mark Richardson, and Plaintiff.

       24.     During the 1996/1997 school year, when Plaintiff was in the 5th Grade, Plaintiff’s

5th Grade teacher was aware that Plaintiff was leaving class to go visit Defendant, Mark

Richardson, in his 4th Grade classroom, which was now located in a double wide trailer outside

of the main school building.

       25.     On one occasion in 1997, while at Defendant Mark Richardson’s house, Defendant,

Danny Dees, another teacher employed by Defendant, District 209, showed up and had forced

sexual intercourse with Plaintiff. Defendant, Mark Richardson, threatened Plaintiff with a knife if

she didn’t allow Defendant Dees to have sex with her.




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       26.     On or about Fall 1996, during the 1996/1997 school year, while Plaintiff was at

school, Defendant, Mark Richardson, told her that the high school basketball coach was going to

let her practice with them after school. Plaintiff thereafter met Defendant, Mark Richardson, after

school in the school gym at Girl’s JV Basketball practice and he told her he arranged a ride for

her. Plaintiff then exited the gym and got in the back seat of a vehicle where Defendant, Mike

Richardson, then drove her to a white house where Defendant, Mike Richardson, undressed her

and other men viewed her naked, touched her, and kissed her. Defendant, Mike Richardson, then

brought Plaintiff back to basketball practice at school before practice was over.

       27.     During the years 1996 through 1998, the aforementioned arrangement continued to

occur regularly during Plaintiff’s basketball practice where she was removed from practice and

sexually abused by strange men at the white house and/or at a shed.

       28.     Upon information and belief, Defendants, Mark Richardson and Mike Richardson,

were compensated for selling Plaintiff for the above sex acts that occurred while Plaintiff was

supposed to be at basketball practice at school under the supervision of her basketball coach, Mark

Richardson.

       29.     At all times relevant during these occasions where Plaintiff was sold for sex, she

was under the care, custody, and control of District 209 employees, including Defendants, Mark

Richardson and Mike Richardson.

       30.     For the years 1995 through 2000, during Plaintiff’s 4th Grade through 8th Grade

school years, Defendant, Mark Richardson, continued committing sexual acts upon Plaintiff,

including numerous acts of rape, sexual assault, sexual abuse, molestation, sodomy, and battery.




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       31.      For the years 1996 through 1998, during Plaintiff’s 4th Grade through 6th Grade

school years, Defendant, Mike Richardson, continued committing sexual acts upon Plaintiff,

including numerous acts of rape, sexual assault, sexual abuse, molestation, and battery.

       32.      During the 1997/1998 school year, when Plaintiff was in the 6th Grade, she

attempted suicide with a scissors in class. The building Principal told Plaintiff she was just seeking

attention and called her parents.

       33.      In 1998, while Plaintiff was in the 6th Grade, the 4th Grade students were housed

in a trailer outside the school separated by a closet. At or about that time, Plaintiff went to visit

Defendant, Mark Richardson, in his classroom and the other 4th Grade teacher observed Plaintiff

in the closet with Richardson where Richardson was yelling at her and holding her wrist.

       34.      In or about 2000, when Plaintiff was in the 8th Grade, Defendant, Mark Richardson,

took Plaintiff to a varsity basketball game at a different school. They left at half time and Mark

Richardson drove Plaintiff out to a country road where he forced her clothes off, pinned her arms

down and anally raped her in the back seat of his car.

       35.      Upon information and belief, in or about 2000, Defendant, District 209, received a

report that Defendant, Mark Richardson, was watching girls undress in locker room.

       36.      Upon information and belief, during the years 1995 through 2000, Defendant,

District 209, received other reports of Defendant, Mark Richardson, acting inappropriately with

underage female students.

       37.      In May 2004, Plaintiff graduated high school.

       38.      Following her graduation, Defendants, Mark Richardson and Mike Richardson,

continued acts of intimidation and sexual abuse in an effort to keep Plaintiff from coming forward

against them.



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       39.     Despite the horrific acts committed by Defendant, Mark Richardson, towards

Plaintiff, and resulting in part from the significant sexual trauma and abuse Plaintiff experienced,

Plaintiff asked Defendant, Mark Richardson, to sing at her wedding.

       40.     On or about January 2014, Plaintiff had flashbacks and memories of the sexual

abuse after being triggered by a post she saw on social media. At or about that time, Plaintiff

started coming to the realization that she was the victim of sexual abuse and that her sexual

relationship with Defendant, Mark Richardson, and others was inappropriate and a violation of the

law.

       41.     On or about May 2014, Defendant, Mark Richardson, showed up at Plaintiff’s

apartment and picked up her 11-month-old daughter and walked inside. At or about that time,

Defendant, Mark Richardson, threatened Plaintiff that he knew people and she and her family

would be hurt if she talked.

       42.     At all times relevant herein, there was in effect a Childhood Sexual Abuse statute

that governed acts of “sexual abuse” that occurred when the person abused was under the age of

18. 735 ILCS 5/13-202.2 (West 2022).

       43.     Pursuant to the Childhood Sexual Abuse statute, “an action for damages for

personal injury based on childhood sexual abuse must be commenced within 20 years of the date

the limitation period begins to run under subsection (d) or within 20 years of the date the person

abused discovers or through the use of reasonable diligence should discover both (i) that the act of

childhood sexual abuse occurred and (ii) that the injury was caused by the childhood sexual abuse.”

735 ILCS 5/13-202.2(b) (West 2022)

       44.     In terms of the discovery rule, “[t]he fact that the person abused discovers or

through the use of reasonable diligence should discover that the act of childhood sexual abuse



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occurred is not, by itself, sufficient to start the discovery period under [the statute].” 735 ILCS

5/13-202.2(b) (West 2022).

       45.      Importantly, under the Childhood Sexual Abuse statute, “[k]nowledge of the abuse

does not constitute discovery of the injury or the causal relationship between any later-discovered

injury and the abuse.” 735 ILCS 5/13-202.2(b) (West 2022).

       46.     Further, because Plaintiff was a victim of numerous acts of sexual abuse by the

same District 209 employees – Defendants, Mark Richardson and/or Mike Richardson, - the

Childhood Sexual Abuse statute extends the statute of limitations even further, and holds:

               If the injury is caused by 2 or more acts of childhood sexual abuse that are
               part of a continuing series of acts of childhood sexual abuse by the same
               abuser, then the discovery period under subsection (b) shall be computed
               from the date the person abused discovers or through the use of reasonable
               diligence should discover both (i) that the last act of childhood sexual abuse
               in the continuing series occurred and (ii) that the injury was caused by any
               act of childhood sexual abuse in the continuing series.

735 ILCS 5/13-202.2(c) (West 2022).

       47.     In a situation such as Plaintiff’s, where she was subjected to threats and intimidation

once she turned the age of 18, the Childhood Sexual Abuse statute tolls the limitation period of 20

years as it does “not run during a time period when the person abused is subject to threats,

intimidation, manipulation, fraudulent concealment, or fraud perpetrated by the abuser or by any

person acting in the interest of the abuser.” 735 ILCS 5/13-202.2(d-1) (West 2022).

       48.      Because the earliest Plaintiff discovered she was a victim of childhood sexual

abuse was 2014, and because Plaintiff was subjected to threats, intimidation, and manipulation by

Defendants, Mark Richardson and Mike Richardson, after she turned 18, this cause of action was

filed within the applicable statute of limitations.




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                                   JURISDICTION & VENUE

       49.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1331 as this Complaint

alleges claims arising under federal law, specifically, 20 U.S.C. § 1681, et seq.

       50.     Jurisdiction is also proper pursuant to 28 U.S.C. § 1367(a) in that the claims averred

herein are so related to the federal question claims asserted herein that they form part of the same

case or controversy under Article III of the United States Constitution.

       51.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) in that the events, acts, and

omissions giving rise to the claims herein all occurred in the Southern District of Illinois.

                                         COUNT I
                                  20 U.S.C. § 1681, et seq.
                     Rachel Greene v. Woodlawn Unit School District #209

       COMES NOW Plaintiff, Rachel Greene d/b/a Rachel Boldt, by and through her attorneys,

Mahoney Law Firm, LLC, and for Count I of her Complaint against Defendant, Woodlawn Unit

School District #209 (“District 209”), states as follows:

       52.     Plaintiff hereby incorporates Paragraphs 1 through 51 herein as though fully set

forth hereunder.

       53.     Title IX provides that “[n]o person in the United States shall, on the basis of sex,

be excluded from participation in, be denied the benefits of, or be subjected to discrimination under

any education program or activity receiving Federal financial assistance…” 20 U.S.C. § 1681(a).

       54.     Title IX liability arises where, such as here, a school district official has the

authority to take protective measures to prevent the sexual assault and/or rape of a minor female

student, and acts with deliberate indifference and reckless disregard in light of knowledge of

Defendant, Mark Richardson, inappropriately touching Plaintiff in the classroom.




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        55.        During the 1995/1996 school year, a teacher employed by District 209 at the

Woodlawn Grade School reported to Steve Danner, the building Principal at the time, that Plaintiff

was sitting on Defendant Mark Richardson’s lap in the classroom with the lights turned off with

his hand on her leg.

        56.        On or about the 1995/1996 school year, and at all times relevant herein, Defendant,

District 209, by and through its agents and employees, including but not limited to, former

Principal Steven Danner, had the authority to initiate corrective action in response to information

received relating to Plaintiff sitting on Defendant Mark Richardson’s lap in the classroom.

        57.        On or about the 1995/1996 school year, and at all times relevant herein, Defendant,

District 209, by and through its agents and employees, including but not limited to, former

Principal Steven Danner, acted with deliberate indifference to their sufficient, actual notice of a

risk of harm or sexual assault to Plaintiff by virtue of a teacher reporting to Steve Danner that she

observed Plaintiff sitting on Defendant Mark Richardson’s lap while in class with his hand upon

Plaintiff’s leg.

        58.        Upon information and belief, in or about 2000, Defendant, District 209, received a

report that Defendant, Mark Richardson, was watching girls undress in locker room.

        59.        Upon information and belief, during the years 1995 through 2000, Defendant,

District 209, received other reports of Defendant, Mark Richardson, acting inappropriately with

underage female students.

        60.        Upon information and belief, on or about the 1995/1996 school year, and at all

times relevant herein, Defendant, District 209, by and through its agents and employees, including

but not limited to, former Principal Steve Danner, had the authority to initiate corrective action in

response to information received and/or behavior observed relating to Defendant, Mark



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Richardson, acting inappropriately towards minor female students, including inappropriate

comments, inappropriate touching of a sexual nature, and inappropriate contact in the classroom,

locker rooms, and throughout the school building.

       61.     Upon information and belief, on or about the 1995/1996 school year, and at all

times relevant herein, Defendant, District 209, by and through its agents and employees, including

but not limited to, former Principal Steven Danner, acted with deliberate indifference to their

sufficient, actual notice of a risk of harm or sexual assault to Plaintiff by virtue of information

received and/or behavior observed relating to Defendant, Mark Richardson, acting inappropriately

towards minor female students, including inappropriate comments, inappropriate touching of a

sexual nature, and inappropriate contact in the classroom, locker rooms, and throughout the school

building.

       62.     On or about the 1995/1996 school year, and at all times relevant herein, Defendant,

District 209, by and through its agents and employees, recklessly disregarded District 209 policies

and procedures and their mandated reporter duties under the law when they allowed Defendant,

Mark Richardson, to continue to teach and coach within District 209 schools when he was likely

to cause harm and/or sexually assault minor female students, including Plaintiff.

       63.     Further, during the 1995/1996 school year, and at all relevant times thereafter,

former Principal Steve Danner was the highest ranking school official at the Woodlawn Grade

School, and was responsible for ensuring that the students enrolled within the Woodlawn Grade

School were safe, such as Plaintiff, due to District 209’s affirmative duty to protect its students

while they were in the care, custody and control of District 209.

       64.     As a direct and proximate result of Defendant District 209’s negligent, reckless

and/or willful and wanton breach of its duty to Plaintiff pursuant to 20 U.S.C. § 1681, et. seq.,



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Plaintiff was sexually assaulted, sexually abused, raped, sodomized, battered, and exhibited in

child pornography while she was in the care, custody and control of District 209.

       65.     As a further direct and proximate result of the foregoing acts and/or omissions,

Plaintiff has suffered great bodily injury, including but not limited to, physical injuries associated

with sexual assault and rape; she has also experienced severe emotional distress, mental anguish,

and depression, which is expected to continue into the future; she has experienced embarrassment

and humiliation; Plaintiff has incurred numerous medical bills and other health-related bills as a

result of medical treatment for her injuries, and is expected to incur the same in the future; she has

suffered a loss of enjoyment of a normal life as a consequence of her emotional injuries and she

has lost her ability to engage in the same kinds of normal activities, all to her damage.

       WHEREFORE, Plaintiff, Rachel Greene d/b/a Rachel Boldt, requests that judgment be

entered on her behalf against Defendant, Woodlawn Unit School District #209, for actual damages

in a sum in excess of Seventy-Five Thousand Dollars ($75,000.00), and for costs of suit and

attorneys’ fees.

                                         COUNT II
                               Willful and Wanton Misconduct
                     Rachel Greene v. Woodlawn Unit School District #209

       COMES NOW Plaintiff, Rachel Greene d/b/a Rachel Boldt, by and through her attorneys,

Mahoney Law Firm, LLC, and for Count II of her Complaint against Defendant, Woodlawn Unit

School District #209 (“District 209”), states as follows:

       52.     Plaintiff hereby incorporates Paragraphs 1 through 51 herein as though fully set

forth hereunder.




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       53.     At all times relevant herein, under Illinois law, Defendant, District 209, and its

agents and employees, had a special relationship with Plaintiff and an affirmative duty to supervise

Plaintiff while she was in the care, custody and control of District 209.

       54.     For the years 1995 through 2000, and at all times relevant herein, Defendant,

District 209, by and through its agents and employees, including but not limited to, former

Principal Steve Danner, various teachers, administrators, and/or school personnel, willfully and

wantonly, and/or with reckless disregard for the safety of Plaintiff, failed to supervise and/or

ensure supervision was provided to Plaintiff, when it consciously allowed Defendant, Mark

Richardson, to sexually assault, sexually abuse, and groom Plaintiff in class and to remove her

from basketball practice without the supervision of a school official, teacher or teacher’s aide to

take her to locations where she was sexually assaulted, sexually abused, and raped, while Plaintiff

was in the care, custody and control of District 209.

       55.     For the years 1995 through 2000, and at all times relevant herein, Defendant,

District 209, by and through its agents and employees, including but not limited to, former

Principal Steve Danner, various teachers, administrators, and/or school personnel, knew or

reasonably should have known that Defendant, Mark Richardson, had exhibited the propensity to

commit a sexual assault against minor females and should not have been allowed to be

unsupervised with minor female students, such as Plaintiff.

       56.     For the years 1995 through 2000, and at all times relevant herein, Defendant,

District 209, by and through its agents and employees, including but not limited to former Principal

Steve Danner, knew or reasonably should have known that Defendant, Mark Richardson, had

previously committed a sexual battery upon Plaintiff when he was informed that Plaintiff was




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sitting on Defendant Mark Richardson’s lap while Plaintiff was supposed to be attending class in

another classroom.

       57.     Upon information and belief, for the years 1995 through 2000, and at all times

relevant herein, Defendant, District 209, by and through its agents and employees, including but

not limited to, former Principal Steve Danner, various teachers, administrators, and/or school

personnel, knew or reasonably should have known that Defendant, Mark Richardson, was acting

inappropriately towards minor female students, by virtue of them witnessing and being informed

that he was making inappropriate comments towards minor female students, committing

inappropriate touching of a sexual nature towards minor female students, and making inappropriate

sexual contact with minor female students in the classroom, locker rooms, and throughout the

school building.

       58.     For the years 1995 through 2000, and at all times relevant herein, Defendant,

District 209, by and through its agents and employees, including but not limited to, former

Principal Steve Danner, various teachers, administrators, and/or school personnel, knew or

reasonably should have known that Defendant Mark Richardson’s presence around minor female

students without supervision would naturally and probably result in injury to Plaintiff.

       59.     For the years 1995 through 2000, and at all times relevant herein, Defendant,

District 209, by and through its agents and employees, including but not limited to, former

Principal Steve Danner, various teachers, administrators, and/or school personnel, willfully and

wantonly, and/or with reckless disregard for the safety of Plaintiff, failed to supervise and/or

ensure supervision was provided to Plaintiff, when it consciously allowed Defendant, Mike

Richardson, to remove her from basketball practice without the supervision of a school official,




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teacher or teacher’s aide to take her to locations where she was sexually assaulted, sexually abused,

and raped, while Plaintiff was in the care, custody and control of District 209.

        60.     For the years 1995 through 2000, and at all times relevant herein, Defendant,

District 209, by and through its agents and employees, including but not limited to, former

Principal Steve Danner, various teachers, administrators, and/or school personnel, knew or

reasonably should have known that Defendant, Mike Richardson, had exhibited the propensity to

commit a sexual assault against minor females and should not have been allowed to be

unsupervised with minor female students, such as Plaintiff.

        61.     Upon information and belief, for the years 1995 through 2000, and at all times

relevant herein, Defendant, District 209, by and through its agents and employees, including but

not limited to, former Principal Steve Danner, various teachers, administrators, and/or school

personnel, knew or reasonably should have known that Defendant, Mike Richardson, was acting

inappropriately towards minor female students, by virtue of them witnessing and being informed

of inappropriate conduct towards minor female students and/or exhibiting his genitalia in the gym

at basketball games while he sat next to the basketball court.

        62.     For the years 1995 through 2000, and at all times relevant herein, Defendant,

District 209, by and through its agents and employees, including but not limited to, former

Principal Steve Danner, various teachers, administrators, and/or school personnel, knew or

reasonably should have known that Defendant Mike Richardson’s presence around minor female

students without supervision would naturally and probably result in injury to Plaintiff.

        63.     As a direct and proximate result of Defendant District 209’s willful and wanton acts

or failures to act, and/or reckless disregard for the safety of Plaintiff and its obligations to Plaintiff




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pursuant to Illinois law, Plaintiff was sexually assaulted, sexually abused, raped, sodomized, and

exhibited in child pornography while she was in the care, custody and control of District 209.

       64.     At all times relevant herein, the failure of Defendant, District 209, by and through

its agents and employees, to supervise Defendant, Mark Richardson, at all times when he was in

close proximity to minor female students was a proximate cause of the severe and significant

physical and emotional injuries suffered by Plaintiff.

       65.     At all times relevant herein, the failure of Defendant, District 209, by and through

its agents and employees, to supervise Defendant, Mike Richardson, at all times when he was in

close proximity to minor female students was a proximate cause of the severe and significant

physical and emotional injuries suffered by Plaintiff.

       66.     At all times relevant herein, the failure of Defendant, District 209, by and through

its agents and employees, to supervise Plaintiff at all times when she was in close proximity to

Defendants, Mark Richardson and/or Mike Richardson, was a proximate cause of the severe and

significant physical and emotional injuries suffered by Plaintiff.

       67.     At all times relevant herein, Defendant, District 209, and its agents and employees,

knew or reasonably should have known that Defendant, Mark Richardson, required supervision at

all times while he was a teacher and/or coach for District 209 in order to protect minor female

students, including Plaintiff, from injury or harm.

       68.     At all times relevant herein, Defendant, District 209, and its agents and employees,

knew or reasonably should have known that Defendant, Mike Richardson, required supervision at

all times while he was a coach for District 209 in order to protect minor female students, including

Plaintiff, from injury or harm.




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       69.     At all times relevant herein, Defendant, District 209, by and through its agents and

employees, including but not limited to, former Principal Steve Danner, various teachers,

administrators, and/or school personnel, had a duty to provide for the physical safety of its students,

including Plaintiff.

       70.     At all times relevant herein, Defendant, District 209, by and through its agents and

employees, including but not limited to, former Principal Steve Danner, various teachers,

administrators, and/or school personnel, had a duty to maintain discipline within District 209

schools and to exercise discipline for the safety and supervision of Plaintiff in the absence of her

parent or guardian.

       71.     At all times relevant herein, Defendant, District 209, by and through its agents and

employees, including but not limited to, former Principal Steve Danner, various teachers,

administrators, and/or school personnel, had a duty to provide supervision to Plaintiff at all times

when she was attending District 209 schools by virtue of information it received relating to

Defendant Mark Richardson’s inappropriate physical contact with her and other minor female

students in the classroom, locker rooms, and throughout the school building.

       72.     At all times relevant herein, Defendant, District 209, by and through its agents and

employees, including but not limited to, former Principal Steve Danner, various teachers,

administrators, and/or school personnel, had a duty to provide supervision to Plaintiff at all times

when she was attending District 209 schools by virtue of information it received relating to

Defendant Mike Richardson’s inappropriate conduct towards minor female students and/or

exhibiting his genitalia in the gym at basketball games while he sat next to the basketball court.




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       73.     Defendant, District 209, by and through its agents and employees, willfully and

wantonly, and/or with reckless disregard for the safety of Plaintiff, Rachel Greene, breached its

duties to Plaintiff in one or more of the following ways:

               a. Defendant, District 209, failed to provide for the physical safety of its students,
                  including Plaintiff, in violation of its duties under the Illinois School Code (105
                  ILCS 5/24-24); and/or

               b. Defendant, District 209, failed to supervise Plaintiff at all times, when it knew
                  or reasonably should have known that the failure to provide supervision to
                  Plaintiff when she in the care, custody and control of its teacher and coach,
                  Defendant, Mark Richardson, would naturally and probably result in harm or
                  injury to Plaintiff; and/or

               c. Defendant, District 209, failed to supervise Defendant, Mark Richardson, at all
                  times, when it knew or reasonably should have known that the failure to provide
                  supervision to Defendant, Mark Richardson, presented a risk of injury to
                  Plaintiff and other minor female students, and would naturally and probably
                  result in harm or injury to Plaintiff; and/or

               d. Defendant, District 209, failed to supervise Defendant, Mike Richardson, at all
                  times, when it knew or reasonably should have known that the failure to provide
                  supervision to Defendant, Mike Richardson, presented a risk of injury to
                  Plaintiff and other minor female students, and would naturally and probably
                  result in harm or injury to Plaintiff, and/or

               e. Defendant, District 209, failed to supervise Plaintiff, in violation of its duties to
                  Plaintiff, when its administrators consciously allowed Defendant, Mark
                  Richardson, to remove Plaintiff from her classroom and come sit on his lap in
                  his classroom without the supervision of a school official, teacher or teachers’
                  aide, while Plaintiff was in the care, custody and control of District 209; and/or

               f. Defendant, District 209, failed to supervise Plaintiff, in violation of its duties to
                  Plaintiff, when its administrators consciously allowed Defendant, Mark
                  Richardson, to remove Plaintiff from basketball practice to be sexually
                  assaulted, sexually abused, and raped by Defendant, Mike Richardson, and
                  others, without the supervision of a school official, teacher or teachers’ aide,
                  while Plaintiff was in the care, custody and control of District 209; and/or

               g. Defendant, District 209, failed to supervise Plaintiff, in violation of its duties to
                  Plaintiff, when Defendant, Mark Richardson, consciously allowed Defendant,
                  Mike Richardson, to remove Plaintiff from basketball practice to be sexually
                  assaulted, sexually abused, and raped by Defendant, Mike Richardson, and



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                   others, without the supervision of a school official, teacher or teachers’ aide,
                   while Plaintiff was in the care, custody and control of District 209; and/or

               h. Defendant, District 209, failed to take any steps to prevent an injury to Plaintiff
                  when she was removed from her classroom and/or basketball practice by
                  Defendant, Mark Richardson, when the impending danger to Plaintiff was clear
                  to those vested with a duty to supervise and/or protect Plaintiff while she was
                  in their care, custody and control; and/or

               i. Defendant, District 209, failed to take any steps to prevent an injury to Plaintiff
                  when she was removed from basketball practice by Defendant, Mike
                  Richardson, when the impending danger to Plaintiff was clear to those vested
                  with a duty to supervise and/or protect Plaintiff while she was in their care,
                  custody and control; and/or

               j. Defendant, District 209, failed to conduct any search for and/or attempt to
                  locate Plaintiff after Defendant, Mark Richardson, removed Plaintiff from her
                  classroom and/or basketball practice without the supervision of a school
                  official, teacher or teachers’ aide, when it knew or reasonably should have
                  known that the failure to do so would naturally and probably result in harm or
                  injury to Plaintiff; and/or

               k. Defendant, District 209, failed to conduct any search for and/or attempt to
                  locate Plaintiff after Defendant, Mike Richardson, removed Plaintiff from
                  basketball practice without the supervision of a school official, teacher or
                  teacher’s aide, when it knew or reasonably should have known that the failure
                  to do so would naturally and probably result in harm or injury to Plaintiff.

       74.     As a direct and proximate result of Defendant District 209’s willful and wanton acts

and/or omissions, as detailed above, District 209 created and encouraged an environment within

its schools and classrooms where Plaintiff was more susceptible to the risk of harm or injury caused

by District 209 teachers and coaches, including Defendants, Mark Richardson and Mike

Richardson.

       75.     As a direct and proximate result of Defendant District 209’s willful and wanton acts

and/or omissions, as detailed above, Plaintiff was forcibly removed from her classroom and/or

basketball practice by Defendants, Mark Richardson and/or Mike Richardson, while she was in

the care, custody and control of District 209.



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       76.     As a direct and proximate result of Defendant District 209’s willful and wanton acts

and/or omissions, as detailed above, Plaintiff was sexually harassed and/or discriminated against,

sexually assaulted, sexually abused, raped, sodomized, and exhibited in child pornography for

years while she was in the care, custody and control of District 209.

       77.     As a further direct and proximate result of the foregoing willful and wanton acts

and/or omissions, Plaintiff has suffered great bodily injury, including but not limited to, physical

injuries associated with the harms committed; she has also experienced severe emotional distress,

mental anguish, and depression, which is expected to continue into the future; she has experienced

embarrassment and humiliation; Plaintiff has incurred numerous medical bills and other health-

related bills as a result of medical treatment for her injuries, and is expected to incur the same in

the future; she has suffered a loss of enjoyment of a normal life as a consequence of her emotional

injuries and she has lost her ability to engage in the same kinds of normal activities, all to her

damage.

       WHEREFORE, Plaintiff, Rachel Greene d/b/a Rachel Boldt, requests that judgment be

entered on her behalf against Defendant, Woodlawn Unit School District #209, for actual damages

in a sum in excess of Seventy-Five Thousand Dollars ($75,000.00), and for costs of suit.

                                            COUNT III
                                  Willful and Wanton Misconduct
                                 Rachel Greene v. Mark Richardson

       COMES NOW Plaintiff, Rachel Greene d/b/a Rachel Boldt, by and through her attorneys,

Mahoney Law Firm, LLC, and for Count III of her Complaint against Defendant, Mark

Richardson, states as follows:

       52.     Plaintiff hereby incorporates Paragraphs 1 through 51 herein as though fully set

forth hereunder.



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       53.     At all times relevant herein, Defendant, Mark Richardson, was a teacher at

Woodlawn Grade School, the girls’ basketball coach, and was Plaintiff’s basketball coach at the

time of the events giving rise to her injuries.

       54.     At all times relevant herein, Defendant, Mark Richardson, by and through the scope

of his employment with District 209, had a special relationship with Plaintiff and an affirmative

duty to provide supervision and protection for Plaintiff while she was in the care, custody and

control of District 209 and Defendant, Mark Richardson.

       55.     For the years 1996 through 1998, and at all times relevant herein, Defendant, Mark

Richardson, willfully and wantonly, and/or with reckless disregard for the safety of Plaintiff, failed

to supervise and/or ensure supervision was provided to Plaintiff, when he consciously allowed

Defendant, Mike Richardson, to remove Plaintiff from basketball practice without the supervision

of a school official, teacher or teacher’s aide to take her to locations where she was sexually

assaulted, sexually abused, and raped, while Plaintiff was in the care, custody and control of

District 209 and Defendant, Mark Richardson.

       56.     For the years 1996 through 1998, and at all times relevant herein, Defendant, Mark

Richardson, knew or reasonably should have known that Defendant, Mike Richardson, had

exhibited the propensity to commit a sexual assault against minor females and should not have

been allowed to be unsupervised with minor female students, such as Plaintiff.

       57.     For the years 1996 through 1998, and at all times relevant herein, Defendant, Mark

Richardson, knew or reasonably should have known that Defendant, Mike Richardson, was

removing Plaintiff from basketball practice without the supervision of a school official, teacher or

teacher’s aide to take her to locations where she was sexually assaulted, sexually abused, and




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raped, while Plaintiff was in the care, custody and control of District 209 and Defendant, Mark

Richardson.

        58.     Upon information and belief, for the years 1996 through 1998, and at all times

relevant herein, Defendant, Mark Richardson, knew or reasonably should have known that

Defendant, Mike Richardson, was removing Plaintiff from basketball practice without the

supervision of a school official, teacher or teacher’s aide to take her to locations where she was

sexually assaulted, sexually abused, and raped.

        59.     For the years 1996 through 1998, and at all times relevant herein, Defendant, Mark

Richardson, knew or reasonably should have known that Defendant Mike Richardson’s presence

around minor female students without supervision would naturally and probably result in injury to

Plaintiff.

        60.     As a direct and proximate result of Defendant Mark Richardson’s willful and

wanton acts or failures to act, and/or reckless disregard for the safety of Plaintiff and his obligations

to Plaintiff pursuant to Illinois law, Plaintiff was sexually assaulted, sexually abused, raped,

sodomized, and exhibited in child pornography while she was in the care, custody and control of

District 209 and Defendant, Mark Richardson.

        61.     At all times relevant herein, the failure of Defendant, Mark Richardson, to supervise

Defendant, Mike Richardson, at all times when he was in close proximity to minor female students

was a proximate cause of the severe and significant physical and emotional injuries suffered by

Plaintiff.

        62.     At all times relevant herein, the failure of Defendant, Mark Richardson, to supervise

Plaintiff at all times when she was in close proximity to Defendant, Mike Richardson, was a

proximate cause of the severe and significant physical and emotional injuries suffered by Plaintiff.



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         63.   At all times relevant herein, Defendant, Mark Richardson, knew or reasonably

should have known that Defendant, Mike Richardson, required supervision at all times while he

was a coach for District 209 in order to protect minor female students, including Plaintiff, from

injury or harm.

         64.   At all times relevant herein, Defendant, Mark Richardson, as a teacher and coach

for District 209, had a duty to provide for the physical safety of his students, including Plaintiff.

         65.   At all times relevant herein, Defendant, Mark Richardson, had a duty to maintain

discipline within his classroom and/or his girls’ basketball teams, and to exercise discipline for the

safety and supervision of Plaintiff in the absence of her parent or guardian.

         66.   At all times relevant herein, Defendant, Mark Richardson, had a duty to provide

supervision to Plaintiff at all times when she was attending District 209 schools by virtue of his

knowledge of Defendant Mike Richardson’s inappropriate conduct with her when he would

remove Plaintiff from basketball practice without the supervision of a school official, teacher or

teacher’s aide to take her to locations where she was sexually assaulted, sexually abused, and

raped.

         67.   Defendant, Mark Richardson, willfully and wantonly, and/or with reckless

disregard for the safety of Plaintiff, Rachel Greene, breached his duties to Plaintiff in one or more

of the following ways:

               a. Defendant, Mark Richardson, failed to provide for the physical safety of his
                  students, including Plaintiff, in violation of his duties under the Illinois School
                  Code (105 ILCS 5/24-24); and/or

               b. Defendant, Mark Richardson, failed to supervise Plaintiff at all times, when he
                  knew or reasonably should have known that the failure to provide supervision
                  to Plaintiff when she in the care, custody and control of its coach, Defendant,
                  Mike Richardson, would naturally and probably result in harm or injury to
                  Plaintiff; and/or



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               c. Defendant, Mark Richardson, failed to supervise Defendant, Mike Richardson,
                  at all times, when it knew or reasonably should have known that the failure to
                  provide supervision to Defendant, Mike Richardson, presented a risk of injury
                  to Plaintiff and other minor female students, and would naturally and probably
                  result in harm or injury to Plaintiff; and/or

               d. Defendant, Mark Richardson, failed to supervise Plaintiff, in violation of its
                  duties to Plaintiff, when he consciously allowed Defendant, Mike Richardson,
                  to remove Plaintiff from basketball practice to be sexually assaulted, sexually
                  abused, and raped by Defendant, Mike Richardson, and others, without the
                  supervision of a school official, teacher or teachers’ aide, while Plaintiff was in
                  the care, custody and control of District 209 and Defendant, Mark Richardson;
                  and/or

               e. Defendant, Mark Richardson, failed to take any steps to prevent an injury to
                  Plaintiff when she was removed from basketball practice by Defendant, Mike
                  Richardson, when the impending danger to Plaintiff was clear to those vested
                  with a duty to supervise and/or protect Plaintiff while she was in their care,
                  custody and control; and/or

               f. Defendant, Mark Richardson, failed to conduct any search for and/or attempt to
                  locate Plaintiff after Defendant, Mike Richardson, removed Plaintiff from
                  basketball practice without the supervision of a school official, teacher or
                  teachers’ aide, when he knew or reasonably should have known that the failure
                  to do so would naturally and probably result in harm or injury to Plaintiff.

       68.     As a direct and proximate result of Defendant Mark Richardson’s willful and

wanton acts and/or omissions, as detailed above, Defendant created and encouraged an

environment within his classroom and girls’ basketball team where Plaintiff was more susceptible

to the risk of harm or injury caused by District 209 teachers and coaches, including Defendant,

Mike Richardson.

       69.     As a direct and proximate result of Defendant Mark Richardson’s willful and

wanton acts and/or omissions, as detailed above, Plaintiff was forcibly removed from basketball

practice by Defendant, Mike Richardson, while she was in the care, custody and control of District

209 and Defendant.




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       70.     As a direct and proximate result of Defendant Mark Richardson’s willful and

wanton acts and/or omissions, as detailed above, Plaintiff was sexually assaulted, sexually abused,

raped, sodomized, and exhibited in child pornography for years while she was in the care, custody

and control of District 209 and Defendant.

       71.     As a further direct and proximate result of the foregoing willful and wanton acts

and/or omissions, Plaintiff has suffered great bodily injury, including but not limited to, physical

injuries associated with the harms committed; she has also experienced severe emotional distress,

mental anguish, and depression, which is expected to continue into the future; she has experienced

embarrassment and humiliation; Plaintiff has incurred numerous medical bills and other health-

related bills as a result of medical treatment for her injuries, and is expected to incur the same in

the future; she has suffered a loss of enjoyment of a normal life as a consequence of her emotional

injuries and she has lost her ability to engage in the same kinds of normal activities, all to her

damage.

       WHEREFORE, Plaintiff, Rachel Greene d/b/a Rachel Boldt, requests that judgment be

entered on her behalf against Defendant, Mark Richardson, for actual damages in a sum in excess

of Seventy-Five Thousand Dollars ($75,000.00), and for costs of suit.

                                           COUNT IV
                                          Sexual Assault
                                 Rachel Greene v. Mark Richardson

       COMES NOW Plaintiff, Rachel Greene d/b/a Rachel Boldt, by and through her attorneys,

Mahoney Law Firm, LLC, and for Count IV of her Complaint against Defendant, Mark

Richardson, states as follows:

       52.     Plaintiff hereby incorporates Paragraphs 1 through 51 herein as though fully set

forth hereunder.



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       53.     At no time did Plaintiff consent to the aforementioned sexual assault, sexual abuse,

sexual penetration, sodomy, and/or sexual contact by Defendant, Mark Richardson, nor did

Plaintiff maintain the capacity to consent due to her minor status.

       54.     As a direct and proximate result of the aforementioned acts, Defendant, Mark

Richardson, created in Plaintiff’s mind, a well-founded fear of imminent peril, caused by

Defendant Mark Richardson’s ability to commit an unwanted and forceful sexual assault and

battery, and Defendant, Mark Richardson, by committing the aforementioned acts, thereby

committed an assault upon Plaintiff.

       55.     For the years 1995 through 2000, at the times that Defendant, Mark Richardson,

sexually assaulted Plaintiff, Defendant, Mark Richardson, intended to commit an unlawful and

outrageous touching upon the person of Plaintiff, without any lawful justification.

       56.     Defendant Mark Richardson’s actions amounted to willful and wanton misconduct

and/or a reckless disregard for the health and safety of Plaintiff.

       57.     As a direct and proximate result of the foregoing acts of sexual assault upon

Plaintiff by Defendant, Mark Richardson, Plaintiff has suffered great bodily injury, including but

not limited to, physical injuries associated with the harms committed; she has also experienced

severe emotional distress, mental anguish, and depression, which is expected to continue into the

future; she has experienced embarrassment and humiliation; Plaintiff has incurred numerous

medical bills and other health-related bills as a result of medical treatment for her injuries, and is

expected to incur the same in the future; she has suffered a loss of enjoyment of a normal life as a

consequence of her emotional injuries and she has lost her ability to engage in the same kinds of

normal activities, all to her damage.




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        WHEREFORE, Plaintiff, Rachel Greene d/b/a Rachel Boldt, requests that judgment be

entered on her behalf against Defendant, Mark Richardson, for actual damages in a sum in excess

of Seventy-Five Thousand Dollars ($75,000.00), and for costs of suit.

                                          COUNT V
                                        Sexual Battery
                               Rachel Greene v. Mark Richardson

        COMES NOW Plaintiff, Rachel Greene d/b/a Rachel Boldt, by and through her attorneys,

Mahoney Law Firm, LLC, and for Count V of her Complaint against Defendant, Mark Richardson,

states as follows:

        52.     Plaintiff hereby incorporates Paragraphs 1 through 51 herein as though fully set

forth hereunder.

        53.     On or about the 1995/1996 school year, and continuing thereafter, Defendant, Mark

Richardson, targeted Plaintiff and groomed her with the specific intent of sexually abusing her

and/or causing her harm.

        54.     For the years 1995 through 2000, Defendant, Mark Richardson, repeatedly and

continually sexually assaulted, sexually penetrated, sexually abused, raped, sodomized, and

battered Plaintiff.

        55.     At no time did Plaintiff consent to the aforementioned sexual assault, sexual abuse,

sexual penetration, sodomy, sexual contact, and/or battery by Defendant, Mark Richardson, nor

did Plaintiff maintain the capacity to consent due to her minor status.

        56.     At the time Defendant, Mark Richardson, committed the aforementioned acts, he

intended to commit an unlawful and outrageous touching upon the person of Plaintiff without any

lawful justification.




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       57.     As a direct and proximate result of the aforementioned acts, Defendant, Mark

Richardson, committed an unlawful and outrageous touching upon the person of Plaintiff, without

any lawful justification or consent, thereby committing a battery upon her.

       58.     Defendant Mark Richardson’s actions amounted to willful and wanton misconduct

and/or a reckless disregard for the health and safety of Plaintiff.

       59.     As a direct and proximate result of the foregoing acts of sexual battery upon

Plaintiff by Defendant, Mark Richardson, Plaintiff has suffered great bodily injury, including but

not limited to, physical injuries associated with the harms committed; she has also experienced

severe emotional distress, mental anguish, and depression, which is expected to continue into the

future; she has experienced embarrassment and humiliation; Plaintiff has incurred numerous

medical bills and other health-related bills as a result of medical treatment for her injuries, and is

expected to incur the same in the future; she has suffered a loss of enjoyment of a normal life as a

consequence of her emotional injuries and she has lost her ability to engage in the same kinds of

normal activities, all to her damage.

       WHEREFORE, Plaintiff, Rachel Greene d/b/a Rachel Boldt, requests that judgment be

entered on her behalf against Defendant, Mark Richardson, for actual damages in a sum in excess

of Seventy-Five Thousand Dollars ($75,000.00), and for costs of suit.

                                           COUNT VI
                                          Sexual Assault
                                 Rachel Greene v. Mike Richardson

       COMES NOW Plaintiff, Rachel Greene d/b/a Rachel Boldt, by and through her attorneys,

Mahoney Law Firm, LLC, and for Count VI of her Complaint against Defendant, Mike

Richardson, states as follows:




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       52.     Plaintiff hereby incorporates Paragraphs 1 through 51 herein as though fully set

forth hereunder.

       53.     At no time did Plaintiff consent to the aforementioned sexual assault, sexual abuse,

sexual penetration, and/or sexual contact by Defendant, Mike Richardson, nor did Plaintiff

maintain the capacity to consent due to her minor status.

       54.     As a direct and proximate result of the aforementioned acts, Defendant, Mike

Richardson, created in Plaintiff’s mind, a well-founded fear of imminent peril, caused by

Defendant Mike Richardson’s ability to commit an unwanted and forceful sexual assault and

battery, and Defendant, Mike Richardson, by committing the aforementioned acts, thereby

committed an assault upon Plaintiff.

       55.     For the years 1995 through 1998, at the times that Defendant, Mike Richardson,

sexually assaulted Plaintiff, Defendant, Mike Richardson, intended to commit an unlawful and

outrageous touching upon the person of Plaintiff, without any lawful justification.

       56.     Defendant Mike Richardson’s actions amounted to willful and wanton misconduct

and/or a reckless disregard for the health and safety of Plaintiff.

       57.     As a direct and proximate result of the foregoing acts of sexual assault upon

Plaintiff by Defendant, Mike Richardson, Plaintiff has suffered great bodily injury, including but

not limited to, physical injuries associated with the harms committed; she has also experienced

severe emotional distress, mental anguish, and depression, which is expected to continue into the

future; she has experienced embarrassment and humiliation; Plaintiff has incurred numerous

medical bills and other health-related bills as a result of medical treatment for her injuries, and is

expected to incur the same in the future; she has suffered a loss of enjoyment of a normal life as a




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consequence of her emotional injuries and she has lost her ability to engage in the same kinds of

normal activities, all to her damage.

       WHEREFORE, Plaintiff, Rachel Greene d/b/a Rachel Boldt, requests that judgment be

entered on her behalf against Defendant, Mike Richardson, for actual damages in a sum in excess

of Seventy-Five Thousand Dollars ($75,000.00), and for costs of suit.

                                           COUNT VII
                                          Sexual Battery
                                 Rachel Greene v. Mike Richardson

       COMES NOW Plaintiff, Rachel Greene d/b/a Rachel Boldt, by and through her attorneys,

Mahoney Law Firm, LLC, and for Count VII of her Complaint against Defendant, Mike

Richardson, states as follows:

       52.     Plaintiff hereby incorporates Paragraphs 1 through 51 herein as though fully set

forth hereunder.

       53.     On or about the 1995/1996 school year, Defendant, Mike Richardson, targeted

Plaintiff and groomed her with the assistance of his brother, Mark Richardson, with the specific

intent of sexually abusing her and/or causing her harm.

       54.     For the years 1995 through 1998, Defendant, Mike Richardson, repeatedly and

continually sexually assaulted, sexually penetrated, sexually abused, raped, and battered Plaintiff

and/or assisted in bringing her to locations where said acts were committed.

       55.     At no time did Plaintiff consent to the aforementioned sexual assault, sexual abuse,

sexual penetration, sexual contact, and/or battery by Defendant, Mike Richardson, nor did Plaintiff

maintain the capacity to consent due to her minor status.




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        56.     At the time Defendant, Mike Richardson, committed the aforementioned acts, he

intended to commit an unlawful and outrageous touching upon the person of Plaintiff without any

lawful justification.

        57.     As a direct and proximate result of the aforementioned acts, Defendant, Mike

Richardson, committed an unlawful and outrageous touching upon the person of Plaintiff, without

any lawful justification or consent, thereby committing a battery upon her.

        58.     Defendant Mike Richardson’s actions amounted to willful and wanton misconduct

and/or a reckless disregard for the health and safety of Plaintiff.

        59.     As a direct and proximate result of the foregoing acts of sexual battery upon

Plaintiff by Defendant, Mike Richardson, Plaintiff has suffered great bodily injury, including but

not limited to, physical injuries associated with the harms committed; she has also experienced

severe emotional distress, mental anguish, and depression, which is expected to continue into the

future; she has experienced embarrassment and humiliation; Plaintiff has incurred numerous

medical bills and other health-related bills as a result of medical treatment for her injuries, and is

expected to incur the same in the future; she has suffered a loss of enjoyment of a normal life as a

consequence of her emotional injuries and she has lost her ability to engage in the same kinds of

normal activities, all to her damage.

        WHEREFORE, Plaintiff, Rachel Greene d/b/a Rachel Boldt, requests that judgment be

entered on her behalf against Defendant, Mike Richardson, for actual damages in a sum in excess

of Seventy-Five Thousand Dollars ($75,000.00), and for costs of suit.




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                                           COUNT VIII
                                           Sexual Assault
                                    Rachel Greene v. Danny Dees

       COMES NOW Plaintiff, Rachel Greene d/b/a Rachel Boldt, by and through her attorneys,

Mahoney Law Firm, LLC, and for Count VIII of her Complaint against Defendant, Danny Dees,

states as follows:

       52.        Plaintiff hereby incorporates Paragraphs 1 through 51 herein as though fully set

forth hereunder.

       53.        On one occasion in 1997, while at Defendant Mark Richardson’s house, Defendant,

Danny Dees, another teacher employed by Defendant, District 209, showed up and had forced

sexual intercourse with Plaintiff. Defendant, Mark Richardson, threatened Plaintiff with a knife if

she didn’t allow Defendant Dees to have sex with her.

       54.        On other occasions during the years 1997 through 1998, when Defendant, Mike

Richardson, would take Plaintiff to the white house during basketball practice, Defendant, Dees,

was one of the individuals who sexually abused Plaintiff there.

       55.        At no time did Plaintiff consent to the aforementioned sexual assault, sexual abuse,

sexual penetration, and/or sexual contact by Defendant, Danny Dees, nor did Plaintiff maintain the

capacity to consent due to her minor status.

       56.        As a direct and proximate result of the aforementioned acts, Defendant, Danny

Dees, created in Plaintiff’s mind, a well-founded fear of imminent peril, caused by Defendant

Danny Dees’s ability to commit an unwanted and forceful sexual assault and battery, and

Defendant, Danny Dees, by committing the aforementioned acts, thereby committed an assault

upon Plaintiff.




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       57.     For the years 1997 through 1998, at the times that Defendant, Danny Dees, sexually

assaulted Plaintiff, Defendant, Danny Dees, intended to commit an unlawful and outrageous

touching upon the person of Plaintiff, without any lawful justification.

       58.     Defendant Danny Dees’s actions amounted to willful and wanton misconduct

and/or a reckless disregard for the health and safety of Plaintiff.

       59.     As a direct and proximate result of the foregoing acts of sexual assault upon

Plaintiff by Defendant, Danny Dees, Plaintiff has suffered great bodily injury, including but not

limited to, physical injuries associated with the harms committed; she has also experienced severe

emotional distress, mental anguish, and depression, which is expected to continue into the future;

she has experienced embarrassment and humiliation; Plaintiff has incurred numerous medical bills

and other health-related bills as a result of medical treatment for her injuries, and is expected to

incur the same in the future; she has suffered a loss of enjoyment of a normal life as a consequence

of her emotional injuries and she has lost her ability to engage in the same kinds of normal

activities, all to her damage.

       WHEREFORE, Plaintiff, Rachel Greene d/b/a Rachel Boldt, requests that judgment be

entered on her behalf against Defendant, Danny Dees, for actual damages in a sum in excess of

Seventy-Five Thousand Dollars ($75,000.00), and for costs of suit.

                                           COUNT IX
                                          Sexual Battery
                                   Rachel Greene v. Danny Dees

       COMES NOW Plaintiff, Rachel Greene d/b/a Rachel Boldt, by and through her attorneys,

Mahoney Law Firm, LLC, and for Count IX of her Complaint against Defendant, Danny Dees,

states as follows:




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        52.     Plaintiff hereby incorporates Paragraphs 1 through 51 herein as though fully set

forth hereunder.

        53.     On one occasion in 1997, while at Defendant Mark Richardson’s house, Defendant,

Danny Dees, another teacher employed by Defendant, District 209, showed up and had forced

sexual intercourse with Plaintiff. Defendant, Mark Richardson, threatened Plaintiff with a knife if

she didn’t allow Defendant Dees to have sex with her.

        54.     On other occasions during the years 1997 through 1998, when Defendant, Mike

Richardson, would take Plaintiff to the white house during basketball practice, Defendant, Dees,

was one of the individuals who sexually abused Plaintiff there.

        55.     At no time did Plaintiff consent to the aforementioned sexual assault, sexual abuse,

sexual penetration, sexual contact, and/or battery by Defendant, Danny Dees, nor did Plaintiff

maintain the capacity to consent due to her minor status.

        56.     At the time Defendant, Danny Dees, committed the aforementioned acts, he

intended to commit an unlawful and outrageous touching upon the person of Plaintiff without any

lawful justification.

        57.     As a direct and proximate result of the aforementioned acts, Defendant, Danny

Dees, committed an unlawful and outrageous touching upon the person of Plaintiff, without any

lawful justification or consent, thereby committing a battery upon her.

        58.     Defendant Danny Dees’s actions amounted to willful and wanton misconduct

and/or a reckless disregard for the health and safety of Plaintiff.

        52.     As a direct and proximate result of the foregoing acts of sexual battery upon

Plaintiff by Defendant, Danny Dees, Plaintiff has suffered great bodily injury, including but not

limited to, physical injuries associated with the harms committed; she has also experienced severe



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emotional distress, mental anguish, and depression, which is expected to continue into the future;

she has experienced embarrassment and humiliation; Plaintiff has incurred numerous medical bills

and other health-related bills as a result of medical treatment for her injuries, and is expected to

incur the same in the future; she has suffered a loss of enjoyment of a normal life as a consequence

of her emotional injuries and she has lost her ability to engage in the same kinds of normal

activities, all to her damage.

       WHEREFORE, Plaintiff, Rachel Greene d/b/a Rachel Boldt, requests that judgment be

entered on her behalf against Defendant, Danny Dees, for actual damages in a sum in excess of

Seventy-Five Thousand Dollars ($75,000.00), and for costs of suit.



                                              Respectfully submitted,


                                              By:   /s/ Ryan J. Mahoney
                                                      Ryan J. Mahoney, #6290113
                                                      MAHONEY LAW FIRM, LLC
                                                      1 Ginger Creek Parkway
                                                      Glen Carbon, IL 62034
                                                      Telephone: 618-961-8288
                                                      Facsimile:     618-961-8289
                                                      ryan@themahoneylawfirm.com
                                                      Attorneys for Plaintiff




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